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         Exhibit B
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                                                 Curriculum Vitae

                                       Mary Ellen Quiceno, MD, FAAN


CURRENT TITLES: Associate Professor of Neurology at University of Texas Southwestern Medical Center
                       Associate Professor of Medical Education at TCU/UNTHSC School of Medicine

Chronology of Education

  UNDERGRADUATE EDUCATION:
  Years          Degree(s)                                      Institution, City, State
  1990-1994      B.S. Psychobiology                             University of Miami, Coral Gables, FL
  1994-1995           None (graduate course in                  Florida Atlantic University, Boca Raton, FL
                      Neuroscience)

  GRADUATE EDUCATION:
  Years          Degree(s)                                      Institution, City, State
  1995-1999      Doctor of Medicine                             University of Miami, Miami, FL


  POSTGRADUATE TRAINING:
  Years          Training Level/Specialty                       Institution, City, State
 1999-2000       Internship, Internal Medicine                  University of Texas Southwestern
                                                                Medical Center, Dallas, TX
 2000 – 2003          Residency, Neurology                      University of Texas Southwestern
                                                                Medical Center, Dallas, TX
 8/2003 – 7/2004      Fellowship, Behavioral Neurology &        University of Texas Southwestern
                      Dementia                                  Medical Center, Dallas, TX

  BOARD CERTIFICATIONS:
  Year Certified Board                                          Specialty

  2004           American Board of Psychiatry & Neurology       Adult Neurology
  2008           United Council for Neurologic Subspecialties   Behavioral Neurology & Neuropsychiatry
  2014           American Board of Psychiatry & Neurology       Adult Neurology (recertification)


  LICENSURE:
  Year Granted        Agency/State and License #                Expiration/Comments
  2003                Texas TMB, L6149                          May 2019




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PROFESSIONAL EXPERIENCE:
Years                  Title(s)                               Institution, City, State

8/2004 – 7/2005             Neurology Physician               Neurology Consultants of Dallas, Dallas, TX
                                                              Texas Health Resources, Dallas, TX
7/2006 – 8/2015             Assistant Professor of Neurology University of Texas Southwestern Medical
                                                             Center, Dallas, TX

9/2015 to present           Associate Professor of Neurology University of Texas Southwestern Medical
                                                             Center, Dallas, TX

11/2017 to present          Associate Professor of Medical    TCU/UNTHSC School of Medicine, Ft.
                            Education                         Worth, TX


TEACHING RESPONSIBILITIES:
Years           Course/Site                                   Role(s)
2006 to present Neurology MS 3 Clerkship at UTSW              Preceptor at Zale and Clements University
                                                              Hospitals and Parkland Hospital & Lecturer
                                                              on Cognitive Disorders
2006 to present      Parkland Neurology Resident Continuity   Preceptor at Parkland Neurology Resident
                     Clinic                                   Clinic
2010 to present      Resident Lecture Series at UTSW          Lecturer in Dementias

2017 to present      MS 1 Brain & Behavior Course at UTSW     Lecturer in Cognitive Disorders & Dementia
                                                              and Higher Cortical Functions
11/2017 to           Neuromusculoskeletal Preclerkship        Course Director
present              Course at TCU/UNTHSC

Honors and Awards
Years             Honor/Award Type                            Institution
2003              Victor Rivera Resident Research Award       University of Texas Southwestern Medical
                                                              Center, Dallas, TX
2012                 Interprofessional Education Collabortaive Association of American Medical Colleges
                     Curriculum Module Development Award funded by the Josiah Macy Jr. Foundation
2013                 Travel award to present at the American University of Texas Southwestern Medical
                     Academy of Neurology Annual Meeting Center, Dallas, TX
2013                 Woman of the Year                       Altrusa International, Inc., Richardson, TX
                                                             Club




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Administrative Duties
Years              Title/Role,                             Institution, City, State, Country
2007 - 2009        Section Head, General Neurology Section University of Texas Southwestern Medical
                                                           Center, Dallas, TX
2010 - 2017        Director, Cognitive & Memory Disorders University of Texas Southwestern Medical
                   Clinic                                  Center, Dallas, TX
2015 to present    Fellowship Director, Behavioral         University of Texas Southwestern Medical
                   Neurology & Dementia, accredited by     Center, Dallas, TX
                   the United Council on Neurologic
                   Subspecialities
2016 to present    Co-Director, Combined Psychiatry &      University of Texas Southwestern Medical
                   Neurology Residency Program             Center, Dallas, TX


Professional & Scientific Committees
Years              Title/Role,                               Institution, City, State, Country
2011 to present    Member, Steering Committee                NIA Alzheimer’s Disease Cooperative Study
                                                             (ADCS) group, UCSD, San Diego, CA, USA
2013 - present     Junior Faculty Representative for UTSW,   AAMC, Washington, DC, USA
                   Council of Faculty & Academic Societies
2014 - 2016        Elected Member, Steering Committee        NIA Alzheimer’s Disease Centers
                   Outreach, Recruitment & Education
                   Cores
2016 to present    Member, Steering Committee                Alzheimer’s Therapeutic Research Institute
                                                             (ATRI), USC, San Diego, CA, USA


Grant Review Committee/Study Sections
Years              Title/Role,                               Institution, City, State, Country
2010 - 2017        Reviewer, Alzheimer’s Disease Center      University of Texas Southwestern Medical
                   Pilot Project Review Committee            Center, Dallas, TX
2010 - 2017        Reviewer, Friends of the ADC              University of Texas Southwestern Medical
                   (Alzheimer’s Disease Center) Grant        Center, Dallas, TX
                   Review Committee
2015, 2016         NIH Ad Hoc R01 invited grant reviewer     National Institutes of Health: National
                   (Alzheimer’s disease)                     Institute of Aging


Symposium/Meeting Chair/Coordinator
Years              Title/Role,                             Institution, City, State, Country
2012, 2013, 2014   Symposium Director, Alzheimer’s Disease University of Texas Southwestern Medical
                   Center                                  Center, Dallas, TX
2016               Chair, Steering Committee, NIA funded     National Institute of Aging, Chicago, IL, USA
                   Alzheimer’s Disease Centers, Education
                   and Outreach Leaders Annual Meeting
2017 to present    Member, Planning Committee for            Alzheimer’s Association, Greater Dallas
                   research symposium planned for Jan.       Chapter, Dallas, TX, USA
                   2018

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 PROFESSIONAL COMMUNITY ACTIVITIES
  Years               Title/Role,                               Institution/Organization, City, State,
  2004 - 2008         Member, Medical Advisory Board            Country Parkinson’s Disease Association,
                                                                American
                                                                North Texas Chapter, Dallas, TX
  2011 - 2016         Board of Directors                        Alzheimer’s Association, Greater Dallas
                                                                Chapter, Dallas, TX
  2014 - 2016         Co-Director, Programs & Services          Alzheimer’s Association, Greater Dallas
                      Committee                                 Chapter, Dallas, TX
  2015 – present      Member, Medical Advisory Board            The Aging Mind Foundation, Dallas, TX



 UNIVERSITY COMMUNITY ACTIVITIES
  Years               Title/Role,                               Institution/Organization, City, State,
  2009                Ambulatory Clinics Epic Committee         Country
                                                                University of Texas Southwestern
                                                                Medical Center, Dallas, TX
  2009                Interviewer, Neurology Residency          University of Texas Southwestern
                                                                Medical Center, Dallas, TX
  2012 - 2013         Interviewer for Medical School Applicants University of Texas Southwestern
                                                                Medical Center, Dallas, TX
  2012 - 2015         Alternative Faculty Senate Representative University of Texas Southwestern
                      for Neurology                             Medical Center, Dallas, TX



Active Grants
2007 to 2017
P30 Neurobiology of Aging (Alzheimer’s Disease Center)
NIA
Role: Investigator


2007 to 2017
TARCC (Texas Alzheimer’s Research and Care Consortium)
State of Texas
Role: Investigator


2010 to present
ADNI: Alzheimer’s Disease Neuroimaging Initiative
NIA
Role: Investigator




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2013 to present
A4 Study: Anti-Amyloid Treatment in Asymptomatic Alzheimer’s Disease
NIA & Eli Lilly
Role: Site PI


2016 to present
A Phase 3, Multicenter, Randomized, Double-blind, Placebo-controlled Study to Assess the Efficacy, Safety,
and Tolerability of AVP-786 for the Treatment of Agitation in Patients with Dementia of the Alzheimer’s
Type.
Avanir
Role: Subinvestigator


Pending Grants or Studies
2017
A Phase 2b/3 Randomized, Double-blind, Placebo-Controlled, Parallel
Group, Multicenter Study Investigating the Efficacy and Safety of JNJ-
54861911 in Subjects who are Asymptomatic At Risk for Developing
Alzheimer’s Dementia (Early)
NIA & Janssen
Role: Site PI

2017
A Study of Lanabecestat (LY3314814) in Participants With Mild Alzheimer's Disease Dementia (DAYBREAK-
ALZ)
Eli Lilly
Role: Site PI

2017
Multicenter, randomized, placebo-controlled study evauating the efficacy and safety of the drug Prazosin.
(PEACE AD)
NIA
Role: Site PI

2017
Advancing Research and Treatment for Frontotemporal Lobar Degeneration. (ARTFL)
NCATS and NINDS
Role: Investigator




2017
Dominantly Inherited Alzheimer Network Trial: An Opportunity to Prevent Dementia. A Study of Potential
Disease Modifying Treatments in Individuals at Risk for or With a Type of Early Onset Alzheimer’s Disease
Caused by a Genetic Mutation. (DIAN-TU)
NIH

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Role: Investigator


Past Grants
2007 to 2017
P30 Neurobiology of Aging (Alzheimer’s Disease Center)
NIA
Role: Leader, Education & Outreach Core


2007 to 2016
P30 Neurobiology of Aging (Alzheimer’s Disease Center)
NIA
Role: Co-Leader, Native American Satellite Clinic


2013 to 2017
Expedition 3: Effect of Passive Immunization on the Progression of Mild Alzheimer’s Disease: Solanezumab
(LY2062430) Versus Placebo.
Eli Lilly
Role: Site PI

2010 – 2015
A Phase 3 Study Evaluating Safety and Effectiveness of Immune Globulin Intravenous (IGIV 10%) for the
Treatment of Mild-to-Moderate Alzheimer’s Disease.
NIH & Baxter
Role: Site PI


Active Contracts
1/2017 to present (will end by 10/2017)
Unversity of Texas at Dallas, Center for Brain Health
Role: Medical consultant



 TEACHING RESPONSIBILITIES/ASSIGNMENTS
   Course and Curriculum Development
   Inclusive years         Course title and         Number        of   Type          of     Number
   (yyyy-yyyy)             number                   times        the   students taking      of
                                                    course is taught   the      course      students
                                                    annually           (e.g., medical;      taking the
                                                                       dental;              course
                                                                       nursing; etc.
   2012 - 2016             Clinical                 1                  Medical (MS 2)       ~200
                           Neurology
                                                                             Mary Quiceno, MD      Page #6
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Courses Directed
Inclusive          Course     title     and       Number      of      Type        of   Number
years (yyyy-       number                         times      the      students         of
yyyy)                                             course       is     taking     the   students
                                                  taught              course (e.g.,    taking
                                                  annually            medical;         the
                                                                      dental;          course
                                                                      nursing; etc.
2012 - 2016        Clinical Neurology             1                   Medical (MS      ~200
                                                                      2)
11/2017 to         Neuromusckuloskeletal          1                   Medical          ~60
present            Medicine                                           students (MS
                                                                      2)
Course Lectures
Inclusive years      Course title and         Number        of      Type          of   Number
(yyyy-yyyy)          number                   times        the      students taking    of
                                              course is taught      the      course    students
                                              annually              (e.g., medical;    taking the
                                                                    dental;            course
                                                                    nursing; etc.
2012 - 2016          Stroke        &          1                     Medical (MS 2)     ~200
                     Cerebrovascular
                     Diseases
2012 – 2016          Neuromuscular            1                     Medical (MS 2)     ~200
                     Diseases
2012 – 2016          Multiple                 1                     Medical (MS 2)     ~200
                     Sclerosis     &
                     Demyleniating
                     Disorders
2012 – 2016          Dementias                1                     Medical (MS 2)     ~200
2014 – 2016          Higher Cortical          1                     Medical (MS 1)     ~200
                     Functions:
                     Language,
                     Praxis, Vision
2014 - 2016          Alzheimer’s              1                     Medical (MS 1)     ~200
                     Disease
2017                 Higher Cortical          Once every 18         Medical (MS 1)     ~200
                     Functions:               months
                     Language,
                     Praxis, Vision
2017                 Alzheimer’s              Once every 18         Medical (MS 1)     ~200
                     Disease                  months

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  Clinical Teaching
  Inclusive years         Course title and     Number        of    Type          of      Number
  (yyyy-yyyy)             number/teaching      times        the    students taking       of
                          topic                course is taught    the      course       students
                                               annually            (e.g., medical;       taking the
                                                                   dental;               course
                                                                   nursing; etc.
  2006 to present         Neurology            10 (I would         Medical (MS 3         2-4
                          Clerkship            participate 2-6     & 4)                  students
                                               weeks per year)                           with each
                                                                                         preceptor
  2006 to present         Ambulatory           12 (I would         Medical (MS 4)        1 student
                          Neurology            participate 2-4                           per
                                               times yearly)                             preceptor
  Students Supervised
  Inclusive           Student Name           Awards /                Where did student go after
  years                                      Recognitions that       completing training with you?
  (yyyy-yyyy)                                student received
                                             during your
                                             supervision
  2017                Niyatee Samudra,       Mentoring               Completing Neurology
                      MD & Alka Khera,                               residency at UTSW
                      MD
  2016                Danielle Rucker        Completed MS 2          MS 3 at UTSW
                                             research project
  2016                Rob Weir, MD                                   MS 2 at UTSW Combined
                                                                     Psychiatry & Neurology
                                                                     Residency
  2016                Whitney Zentgraf,                              Geriatric Clinical Pharmacy
                      PharmD                                         Specialist at Wesley Medical
                                                                     Center
  2014                Becky Mahan,                                   Assistant Professor, Geriatrics
                      PharmD                                         Division, Texas Tech
                                                                     University HSC SOP- Abilene


 Other Educational Activities
 1. Quiceno ME. (2013). SAGE Southwestern Aging and Geriatrics Education Program Module: Cognitive
 Assessment in the elderly. Access at http://www.gerisage.com/.


PEER-REVIEWED JOURNAL ARTICLES (Bold/underline faculty member’s name)
  1. Torabi AM, Quiceno M, Mendeksohn DB, Powell CM. (2004) Multilevel Intramedullry Spinal
                                                                      Mary Quiceno, MD Page #8
                                                                                 Neurocysticercosis with
        Case 2:12-md-02323-AB Document 9753-2 Filed 02/27/18 Page 10 of 13
       Eosiniophilic Meningitis. Archives of Neurology, 61: 770-2.
  2.   Kamm K, Simpkins S, Shah A, Quiceno M, Gupta R, Hoggatt Krumwiede K. Acknowledging Roles and
       Abilities of Team Members: A simulated geriatric care team meeting with the Coopers.
       MedEdPORTAL; 2013. Available from: www.mededportal.org/publication/9305
  3.   Wadsworth HE, Galusha-Glasscock JM, Womack KB, Quiceno M, Weiner MF, Hynan LS, Shore J,
       Cullum CM. (2016) Remote Neuropsychological Assessment in Rural American Indians With and
       Without Cognitive Impairment. Archives of Clinical Neuropsychology, 31(5):420-5.
  4.   O'Bryant SE, Edwards M, Johnson L, Hall J, Villarreal AE, Britton GB, Quiceno M, Cullum CM, Graff-
       Radford NR. (2016) A blood screening test for Alzheimer's disease. Alzheimers Dement (Amst), 3:83-
       90.
  5.   Team-based science peer-reviewed journal articles:
       https://www.ncbi.nlm.nih.gov/sites/myncbi/1pcvAt9S0oxQf/bibliography/43483694/public/?sort=d
       ate&direction=descending



NON PEER-REVIEWED JOURNAL ARTICLES
1. Lipton AM, Attmore J, Quiceno ME, Rubin CD (2004). Update on Alzheimer’s Disease. Dallas Medical
   Journal, 90(1):16-21.
2. Quiceno ME, Whittington T (2017). Cognitive Fuction & Aging. Healthy Living Made Simple,
   Sept/Oct 2017: 22-23.


BOOK CHAPTERS
1. Zamrini E, Quiceno ME (2009). Chapter 14: Other Causes of Dementia. The American Psychiatric
   Publishing Textbook of Alzheimer’s Disease and Other Dementias. American Psychiatric Publishing;
   Arlington, VA, USA.


UNPUBLISHED POSTER PRESENTATIONS
 1. Smyth S, Daffner K, Barrett AM, Quiceno M, Rao-Frisch A, Lerner A (2012). The Mental Status
    Tree: an educational tool. American Academy of Neurology, New Orleans, LA USA.
 2. Nguyen TP, Womack KW, Quiceno, ME (2015). Dementia with Lewy Bodies in American
    Indians: A case series. International Dementia With Lewy Bodies Conference, Miami, FL, USA.
 3. Nguyen T, Brown S, Logan R, O'Suilleabhain P, Dewey R, Quiceno M, Khemani P. (2017).
    Instrumented Gait and Balance Analyses in Progressive Supranuclear Palsy and Mild Cognitive
    Impairment Compared with Parkinson Disease. American Academy of Neurology, Vancouver,
    Canada.
 4. Bateman J, Daffner K, Gale S, Barrett A, Boeve B, Finney G, Gitleman D, Hart J, Lerner A,
    Meador K, Quiceno M, Voeller K, Whitney V, Kaufer D. Do We Practice What We Preach
    Regarding Clinical Cognitive Testing?: Results From an AAN Behavioral Neurology Section
    Survey. American Academy of Neurology, Vancouver, Canada.


ORAL PRESENTATIONS
 Meeting Presentations
 National
 Year CME       Author(s). Title of Presentation. Sponsoring Institution/Organization, City, State, Country.

                                                                               Mary Quiceno, MD      Page #9
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 2012     *    Kaufer D, Menendez M, Quiceno, ME. Co-presenter, Behavioral Neurology course
               American Academy of Neurology Annual Meeting, New Orleans, LA, USA.
 2012          Quiceno ME. Chair & Emcee. Alzheimer’s Disease Center Symposium. UTSW, Dallas, TX,
               USA.
 2013     *    Quiceno ME. Interprofessional Education. AB Baker Education Section Symposium at the
               American Academy of Neurology Annual Meeting, San Diego, CA, USA.
 2013          Quiceno ME. Chair & Emcee. 2nd Annual Alzheimer’s Disease Center Symposium. UTSW,
               Dallas, TX, USA.
 2014          Quiceno ME. Chair & Emcee. 3rd Annual Alzheimer’s Disease Center Symposium. UTSW,
               Dallas, TX, USA.
 2016          Quiceno ME. Chair of Meeting & Emcee. National ADC Education & Outreach Cores Annual
               Meeting, NIA, Chicago, IL, USA.


Regional/Local
 Year CME Author(s). Title of Presentation. Sponsoring Institution/Organization, City, State, Country.
 2014     *    Quiceno ME. Alzheimer Disease. North Texas Nurse Practitioners (NTNP) Annual CE
               Conference, Dallas, TX, USA.
 2014     *    Quiceno ME, Martiez N, Logan R. Understanding & Identifying Stages of Dementia due to
               Alzheimer’s Disease Workshop. 31st Annual Adult Protective Services Conference, Texas
               Dept. of Family & Protective Services, San Antonio, TX, USA.
 2014     *    Quiceno, ME. Alzheimer’s Disease UTSW Academic Clinical Provider Lecture Series for
               Nurse Practitioners & Physician Assistants. UTSW, Dallas, TX, USA.
 2015     *    Quiceno, ME. Alzheimer Disease. 1st Annual UTSW Neurotherapeutics Update, Dallas, TX.
 2015          Quiceno, ME. Diminished Capacity: When Philanthropy and Mental Health Collide.
               Partnership for Philanthropic Planning. Dallas, TX, USA.
 2015          Quiceno ME. Alzheimer disease. Dallas County Dental Society, Retired Dentists Seminar
               Series. Dallas, TX, USA.
 2016          Quiceno ME. Diminished Capacity: When Philanthropy and Mental Health Collide. Dallas
               Estate Planning Council. Dallas, TX, USA.
 2016          Quiceno ME. Maintain Your Brain: Update on Prevention of Memory Loss. Federal Judges
               Meeting (Eastern District of Texas), McKinney, TX, USA.
 2017    *     Quiceno ME. Update on Alzheimer Disease. 5th Annual Alzheimer’s Disease Symposium.
               Texas Tech Health Health Sciences Center School of Nursing and Pharmacy, Abilene,
               TX,USA.
 2017    *     Quiceno ME. Non-Alzheimer Disease Dementias. 3rd Annual UTSW Neurotherapeutics
               Update. Dallas, TX.



Grand Rounds Presentations
 Year    CME    Author(s). Title of Presentation. Sponsoring Institution/Organization, City, State, Country.
 2008     *    Quiceno ME. Dementia Syndromes. Terrell State Hospital, Terrell, TX.
 2009     *    Quiceno ME. Dementia Syndromes. Hendrick Medical Center Annual CME symposium,
               Abilene, TX.
                                                                            Mary Quiceno, MD       Page #10
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 2012     *    Quiceno ME. The Latest in Detecting & Preventing Memory Loss. Neurology Grand Rounds,
               Presbyterian Hospital of Dallas, Dallas, TX.
 2012     *    Quiceno ME. Alzheimer Disease: Diagnostic Tools and Emerging Treatments. East Texas
               Medical Center, Tyler, TX.
 2012     *    Quiceno ME. Alzheimer Disease: Diagnostic Tools and Emerging Treatments. UT Tyler,
               Tyler, TX.
 2013     *    Quiceno ME. Alzheimer Disease: Diagnostic Tools and Emerging Treatments. Internal
               Medicine Grand Rounds, Presbyterian Hospital of Dallas, Dallas, TX.
 2013     *    Quiceno, ME. Alzheimer Disease: Diagnostic Tools and Emerging Treatments. 23rd Annual
               Myron Weiner, MD Geriatric Psychiatry Conference, UTSW, Dallas, TX.
 2013     *    Quiceno ME. Alzheimer Disease: Diagnostic Tools and Emerging Treatments. East Texas
               Family Physician Annual Conference, Carthage, TX.
 2016     *    Quiceno ME. Updates in Alzheimer Disease. UTSW Dept. of Family Medicine, Dallas, TX.
 2016     *    Quiceno ME. Updates in Alzheimer Disease. UTSW APPs, Dallas, TX.
 2017     *    Quiceno ME. Alzheimer Disease Detection. UT Tyler Dept.of Internal medicine, Tyler, TX.
 2017     *    Quiceno ME. Alzheimer Disease Detection. Methodist Health System Dept. of Internal
        Medicine, Dallas, TX.

Outreach Presentations
 Year           Author(s). Title of Presentation. Sponsoring Institution/Organization, City, State, Country.

 2013          Quiceno ME. Alzheimer Disease: Diagnostic Tools & Emerging Treatments, Louisiana
               Alzheimer Association, Caregiver Conference, Shreveport, LA, USA.
 2007          Quiceno ME. Neuropsychiatric Issues in Parkinson Disease American Parkinson Disease
               Association, Northeast Texas Fall Parkinson Disease Symposium, Dallas, TX, USA.
 2007          Quiceno ME. Alzheimer Disease. UT Southwestern Women’s Day Symposium, Dallas, TX,
               USA.
 2010          Quiceno ME. Challenges in Moderate Stage Alzheimer Disease. Richard J Price Caregiver
               Symposium sponsored by the Greater Dallas Chapter of the Alzheimer’s Association,
               Dallas, TX, USA.
 2011          Quiceno ME. Memory and Cognitive Health Heritage Ranch, Fairview, TX, USA.
 2011          Quiceno ME. End of Life Issues in Alzheimer Disease Richard J Price Caregiver Symposium
               sponsored by the Greater Dallas Chapter of the Alzheimer’s Association, Dallas, TX, USA.
 2012          Quiceno ME. African Americans & Alzheimer Disease Fabulous 50 to Sexy at 60 Lecture
               Series sponsored by the National Physician & Family Referral Project (NPFR), Dallas, TX,
               USA.
 2012          Quiceno ME. The Latest in detecting & Preventing Memory Loss. CC Young, Dallas, TX.
               Featured speaker at the annual Body, Mind & Spirit Lecture Series, Dallas, TX,USA.
 2013          Quiceno ME. Alzheimer Disease: Diagnostic Tools and Emerging Treatments.
               Alzheimer’s Association North Central Texas Chapter Annual Caregiver Conference, Ft.
               Worth, TX, USA.
 2014          Quiceno ME. Alzheimer Disease: Emerging Treatments. AWARE lecture series speaker
               (Alzheimer’s Women’s Association to Reach & Engage), Dallas, TX,USA.

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2014        Quiceno ME. A Glimpse of the Future: Research Trends in Alzheimer’s disease. Richard J
            Price Caregiver Symposium sponsored by the Greater Dallas Chapter of the Alzheimer’s
            Association, Dallas, TX, USA.
2016        Quiceno ME. Update of the Research and Prevention of Alzheimer Disease. Mindshare
            2016 Lecture series for the Alzheimer’s Association, Longview, TX, USA.
2016        Quiceno ME. “Brain Smart”. Mindshare 2016 Lecture series for the Alzheimer’s
            Association, Dallas, TX, USA.
2016        Quiceno ME. Update on the Research and Prevention of Alzheimer Disease. Mindshare
            Lecture series for the Alzheimer’s Association in Irving, TX, USA.
2017        Quiceno ME. Update on Alzheimer Disease. Community Conversations Project sponsored
            by the Greater Dallas Chapter of the Alzheimer’s Association, CC Young, Dallas, TX, USA.
2017        Quiceno ME. AAIC Update. Midshare program sponsored by the Greater Dallas Chapter of
            the Alzheimer’s Association, Longview, TX, USA.
2017        Quiceno ME. Alzheimer Disease and Related Dementias. Dementia Essentials program
            sponsored by the Wellness Center for Older Adults, Plano, TX, USA.




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